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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA



ASIA BRUMFIELD THAGGARD                           *         CIVIL ACTION NO. 22-1069
           Plaintiff                              *
                                                  *         SECTION: “S”(3)
v.                                                *
                                                  *         JUDGE: LEMMON
CSX TRANSPORTATION, INC.,                         *
XYZ INSURANCE COMPANY                             *         MAG. JUDGE: DOUGLAS
           Defendant                              *
* * * * * * * * * * * * * * *                     *



                                             ORDER

       Considering the Motion for Extension of Time within Which to File Responsive Pleadings

filed herein by defendant CSX Transportation, Inc.;

       IT IS HEREBY ORDERED that defendant CSX Transportation, Inc. be and is hereby

GRANTED an additional twenty-one (21) days, or until Monday, June 13, 2022, within which to

file pleadings responsive to the Plaintiff’s Petition for Damages herein.
                                     20th day of ____________________, 2022.
       New Orleans, Louisiana, this ______            May



                                               UNITED STATES DISTRICT JUDGE




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